                                DECISION
{¶ 1} This cause came on to be considered upon a notice of appeal, the transcript of the docket and journal entries, the transcript of proceedings and original papers from the Clermont County Court of Common Pleas, and upon a brief filed by appellant's counsel and the pro se brief of appellant, oral argument having been waived.
  {¶ 2} Counsel for defendant-appellant, Stanley Jackson, filed a brief with this court pursuant to Anders v. California (1967), 386 U.S. 738,87 S.Ct. 1396, which (1 ) indicates that *Page 2 
a careful review of the record from the proceedings below fails to disclose any errors by the trial court prejudicial to the rights of appellant upon which an assignment of error may be predicated; (2) lists three potential errors "that might arguably support the appeal,"Anders, at 744, 87 S.Ct. at 1400; (3) requests that this court review the record independently to determine whether the proceedings are free from prejudicial error and without infringement of appellant's constitutional rights; (4) requests permission to withdraw as counsel for appellant on the basis that the appeal is wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have been served upon appellant.
  {¶ 3} Appellant has filed a pro se brief raising assignments of error pertaining to ineffective assistance of counsel, the denial of a motion to withdraw his guilty plea and failure to correct a void sentence.
  {¶ 4} We have accordingly examined the record, the potential assignments of error presented in counsel's brief, and the assignments of error in appellant's pro se brief, and find no error prejudicial to appellant's rights in the proceedings in the trial court. The motion of counsel for appellant requesting to withdraw as counsel is granted, and this appeal is dismissed for the reason that it is wholly frivolous.
  YOUNG, P.J., BRESSLER and WALSH, JJ., concur. *Page 1 